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                          IN THE UNITED STATES DISTRICT COURT
                           FOR THE EASTERN DISTRICT OF TEXAS
                                   MARSHALL DIVISION

ROTHSCHILD CONNECTED DEVICES
INNOVATIONS, LLC,

                          Plaintiff,

vs.                                              Case No: 2:15-cv-01646-JRG-RSP

CELLCO PARTNERSHIP d/b/a VERIZON                 JURY TRIAL DEMANDED
WIRELESS,

                          Defendant.

         DEFENDANT CELLCO PARTNERSHIP D/B/A VERIZON WIRELESS’S
            ANSWER AND AFFIRMATIVE DEFENSES TO PLAINTIFF’S
                      FIRST AMENDED COMPLAINT

        Defendant Cellco Partnership d/b/a Verizon Wireless (“Verizon Wireless”), through its

undersigned counsel, respectfully states its Answer and Affirmative Defenses to Plaintiff

Rothschild Connected Devices Innovations, LLC (“Rothschild”) First Amended Complaint

(“Complaint”) as follows:

                                   PARTIES AND JURISDICTION

        1.      Verizon Wireless admits that Rothschild purports to state a claim for patent

infringement under Title 35 of the United States Code. Verizon Wireless admits that Rothschild

is seeking injunctive relief as well as damages. Verizon Wireless denies that Rothschild is

entitled to any relief.

        2.      Verizon Wireless admits that this Court has subject matter jurisdiction over patent

infringement actions pursuant to 28 U.S.C. §§ 1331 and 1338(a).

        3.      Verizon Wireless is without knowledge sufficient to admit or deny the allegations

of Paragraph 3 of the Complaint, and therefore denies them.
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       4.      Verizon Wireless admits that it is a general partnership organized and existing

under the laws of Delaware and that it has a principal place of business at 1 Verizon Way,

Basking Ridge, NJ 07920. Verizon Wireless further admits that it may be served, in this case

only, through its counsel of record Duane Morris LLP at 1075 Peachtree Street NE, Suite 2000,

Atlanta, GA 30309-3929.

       5.      Paragraph 5 contains conclusions of law and not averments of fact to which an

answer is required, but insofar as an answer may be required, Verizon Wireless admits that it has

conducted business in the state of Texas. For the purposes of this action only, Verizon Wireless

does not contest that this Court has personal jurisdiction over it, but denies that it infringes any

claim of the patents-in-suit in this judicial district or elsewhere. Verizon Wireless denies any

remaining allegations in Paragraph 5.

       6.      Verizon Wireless admits that that it has sold goods and services around the

country, including in the Eastern District of Texas, but denies that its sale of those goods and

services infringes any valid claim of any of the patents-in-suit. Verizon Wireless denies any

remaining allegations in Paragraph 6.

                                             VENUE

       7.      Paragraph 7 contains conclusions of law and not averments of fact to which an

answer is required, but insofar as an answer may be required, Verizon Wireless does not contest

that venue may be had in this judicial district, but states that other districts may be more

convenient forums in which to litigate the claims asserted against Verizon Wireless. Verizon

Wireless denies that it infringes any claim of the patents-in-suit in this judicial district or

elsewhere. Verizon Wireless denies any remaining allegations in Paragraph 7.




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                                  COUNT 1
              (INFRINGEMENT OF UNITES STATES PATENT NO. 8,788,090)

        8.     Verizon Wireless restates and incorporates by reference its responses to the

allegations in Paragraphs 1 through 7 of the Complaint as though fully set forth herein.

        9.     Verizon Wireless admits that Rothschild purports to bring its claim under 35

U.S.C. §§ 271, et seq.

        10.    Verizon Wireless is without knowledge sufficient to admit or deny the allegations

of Paragraph 10 of the Complaint, and therefore denies them.

        11.    Verizon Wireless admits that what purports to be a true and correct copy of U.S.

Patent No. 8,788,090 (“the ’090 patent”) is included as Exhibit A to the Complaint.

        12.    Verizon Wireless denies the allegations of Paragraph 12 of the Complaint.

        13.    Verizon Wireless denies the allegations of Paragraph 13 of the Complaint.

        14.    Verizon Wireless admits that it offers for sale services referred to as the Verizon

Family Case, Usage Controls, and/or Family Safeguards. Verizon Wireless denies the remaining

allegations of Paragraph 14 of the Complaint.

        15.    Verizon Wireless denies the allegations of Paragraph 15 of the Complaint.

        16.    Verizon Wireless denies the allegations of Paragraph 16 of the Complaint.

        17.    Verizon Wireless is without knowledge sufficient to admit or deny the allegations

of Paragraph 17 of the Complaint, and therefore denies them.

                                     PRAYER FOR RELIEF

        Verizon Wireless denies that Rothschild is entitled to any of the relief sought in its prayer

for relief.




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                                 AFFIRMATIVE DEFENSES

       Verizon Wireless asserts the following affirmative and other defenses to the Complaint.

In so doing, Verizon Wireless does not assume or shift any burden of proof on any issue that is

Rothschild’s burden as a matter of law. Verizon Wireless reserves the right to amend or

supplement these defenses as additional facts become known.

                                          First Defense

       1.      Verizon Wireless does not infringe and has not infringed, literally or by the

doctrine of equivalents, any valid and enforceable claim of the ’090 patent, either directly,

contributorily, by inducement, or in any other manner.

                                         Second Defense

       2.      One or more claims of the ’090 patent are invalid pursuant to one or more of the

provisions of Title 35 of the United States Code, including, but not limited to, 35 U.S.C. §§ 101,

102, 103, and/or 112, and/or the rules, regulations and law pertaining thereto.

                                          Third Defense

       3.      Rothschild’s claims of infringement against Verizon Wireless regarding the ’090

patent are barred, in whole or in part, and the ’090 patent is unenforceable against Verizon

Wireless due to the doctrines of waiver, estoppel, and/or acquiescence.

                                         Fourth Defense

       4.      To the extent Rothschild or its licensees have failed to comply with the marking

requirement of 35 U.S.C. § 287(a), Rothschild’s requested relief is barred, in whole or in part for

any damages for Verizon Wireless’s alleged infringement prior to the date of filing of the

Complaint.




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                                          Fifth Defense

       5.      Rothschild is precluded from recovering costs under 35 U.S.C. § 288.

                                          Sixth Defense

       6.      Rothschild’s claims are barred by the doctrine of prosecution history estoppel

based on amendments, statements, admissions, omissions, representations, disclaimers and/or

disavowals made during the prosecution of the ’090 patent.

                             Seventh Defense / Reservation of Rights

       7.      Verizon Wireless is investigating the facts relating to the procurement of the ’090

patent and the assertion of infringement against Verizon Wireless, and will continue to do so

throughout the discovery process. To the extent that this investigation reveals any improprieties

in connection with such matters, Verizon Wireless reserves the right to seek leave to amend to

assert such allegations and/or defenses based thereon that may be appropriate.

                                        JURY DEMAND

       Verizon Wireless admits that the Complaint sets forth a demand for a trial by jury.

Verizon Wireless likewise demands a trial by jury on all issues so triable.

                                    PRAYER FOR RELIEF

       WHEREFORE, having fully answered Rothschild’s Amended Complaint and having

asserted Affirmative Defenses, Verizon Wireless prays for judgment as follows:

       A.      That this Court fully and finally dismiss Rothschild’s claims against Verizon

Wireless and order that Rothschild take nothing from Verizon Wireless;

       B.      To the extent that Verizon Wireless is the prevailing party and it is determined

that this is an exceptional case, awarding Verizon Wireless its expenses, disbursements, and




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reasonable attorney’s fees under 35 U.S.C. § 285 and all other applicable statutes, rules, and

common law;

       C.     That this Court award Verizon Wireless all of its costs of this action; and

       D.     That this Court grant Verizon Wireless such other and further relief as the Court

shall deem just and proper.


Dated: December 28, 2015                         DUANE MORRIS LLP

                                                 /s/ Matthew S. Yungwirth
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                                     CERTIFICATE OF SERVICE

        The undersigned counsel hereby certifies that on December 28, 2015, a true and correct

copy of the foregoing DEFENDANT CELLCO PARTNERSHIP D/B/A VERIZON

WIRELESS’S ANSWER AND AFFIRMATIVE DEFENSES was electronically filed with

the Clerk of Court using the CM/ECF system, which will automatically send notification of such

filing to all attorneys of record.



                                                    /s/ Matthew S. Yungwirth
                                                       Matthew S. Yungwirth




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